
950 So.2d 403 (2007)
B.W.H., etc., Petitioner,
v.
STATE of Florida, Respondent.
No. SC05-1291.
Supreme Court of Florida.
February 8, 2007.
James S. Purdy, Public Defender and Thomas J. Lukashow, Assistant Public Defender, *404 Seventh Judicial Circuit, Daytona Beach, FL, for Petitioner.
Bill McCollum, Attorney General, Tallahassee, FL, and Kristen L. Davenport, Assistant Attorney General, Daytona Beach, FL, for Respondent.
PER CURIAM.
We have for review B.W.H. v. State, 904 So.2d 659 (Fla. 5th DCA 2005), in which the Fifth District Court of Appeal cited V.K.E. v. State, 902 So.2d 343 (Fla. 5th DCA 2005), quashed, 934 So.2d 1276 (Fla. 2006), and certified the same question as was then pending review in this Court in V.K.E. We have jurisdiction. See art. V, § 3(b)(3)-(4), Fla. Const.; Jollie v. State, 405 So.2d 418 (Fla.1981).
We have since quashed V.K.E. and answered the certified question in a manner contrary to the decision presently on review. See V.K.E. v. State, 934 So.2d 1276 (Fla.2006). We have thus determined, and respondent agrees, that we should exercise our jurisdiction to grant the petition for review, quash the decision under review, and remand to the Fifth District Court of Appeal for reconsideration upon application of this Court's decision in V.K.E.
It is so ordered.
LEWIS, C.J., and WELLS, ANSTEAD, PARIENTE, and QUINCE, JJ., concur.
CANTERO and BELL, JJ., concur in result only.
